             IN THE DISTRICT COURT OF THE UNITED STATES
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         ASHEVILLE DIVISION
                               1:15 cr 85


UNITED STATES OF AMERICA,                   )
                                            )
Vs.                                         )           ORDER
                                            )
RAY CHAD LEQUIRE,                           )
                                            )
                 Defendant.                 )
__________________________________          )


        THIS MATTER is before the undersigned pursuant to a Motion For Review

of Detention (#163) filed by counsel for Defendant. In the motion, counsel for

Defendant requests that Defendant be released to reside with his mother, Eleanor

Lequire, with terms and conditions which would include electronic monitoring. At

the call of this matter on for hearing it appeared Defendant was present with his

attorney, D. Baker McIntyre, III and the Government was present and represented

by AUSA David Thorneloe. From the evidence offered by the Government and the

evidence offered by Defendant and the records in this cause, the Court makes the

following findings.

        Findings. The Defendant was charged in a bill of indictment (#3) filed on

September 15, 2015 with one count of conspiracy to distribute methamphetamine

and one count of distribution of methamphetamine. On September 23, 2015 the

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undersigned conducted a detention hearing in regard to the detention of Defendant.

At that time, it was represented by Defendant that he had severe diabetes. It was

further represented to the Court the Defendant had not received any treatment for his

diabetic condition between the time of his arrest on September 15, 2015 and the time

of the detention hearing of September 23, 2015. It was further represented to the

Court that Defendant could reside with his grandfather, and be subject to electronic

monitoring at the grandfather’s residence. As a result of these representations the

undersigned entered an Order (#86) setting terms and conditions of pretrial release

and releasing Defendant from custody to reside at the residence of his grandfather

and be subject to electronic monitoring.

      Thereafter, on September 30, 2015 a Violation Report (#118) was filed by the

United States Probation Office alleging that Defendant had violated terms and

conditions of his pretrial release in that Defendant could not reside at the residence

of his grandfather. There was further evidence presented that the representations

that Defendant had severe diabetes were untrue. Evidence was presented to the

Court that showed when Defendant was placed into custody on September 17, 2015

at the Swain County Jail, the Defendant was asked if he had a history of diabetes

and the Defendant replied “no” and whether or not Defendant had any other medical

condition that the jail should be made aware of and the Defendant said “no”. The

Defendant was also asked if he was presently taking medications and Defendant
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again stated “no”. The questions were located in a document entitled “Swain County

Detention Center Medical Questionnaire” and the document was signed by

Defendant. (Gov.’s Exhibit #1) After a hearing on the Violation Report, the

undersigned entered an Order revoking the terms and conditions of pretrial release

of Defendant.

      The Defendant now represents he has a place in which he could reside, that

being with his mother at a residence located in Sylva, NC. Defendant’s mother,

Eleanor Lequire, was called as a witness by the Defendant. Mrs. Lequire stated she

had located a residence but she had not, in fact, moved into the residence and indeed

she had not yet rented the residence. Mrs. Lequire stated she is employed at the

Harrah’s Casino in Cherokee, NC on a fulltime basis, but Mrs. Lequire also advised

the Court she had developed cancer and from time to time would have to leave the

state of North Carolina for treatment for her medical condition.

             Discussion. 18 U.S.C. § 3142(e)(3)(A) provides, subject to
      rebuttable by the person, it shall be presumed that no condition or
      combination of conditions would reasonably assure the appearance of
      the person as required and the safety of the community, if the judicial
      officer finds there is probable cause to believe that the person
      committed an offense for which a maximum term of imprisonment of
      ten years or more as prescribed in the Controlled Substances Act.

It is alleged in the bill of indictment that the Defendant has committed such an

offense.

      In considering whether or not the presumption has been rebutted, the
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undersigned has considered all the factors as set forth under 18 U.S.C. § 3142(g).

That statute reads as follows:

     (g) Factors to be considered.--The judicial officer shall, in
     determining whether there are conditions of release that will
     reasonably assure the appearance of the person as required and the
     safety of any other person and the community, take into account the
     available information concerning--
     (1) The nature and circumstances of the offense charged, including whether
     the offense is a crime of violence, a violation of section 1591, a Federal
     crime of terrorism, or involves a minor victim or a controlled substance,
     firearm, explosive, or destructive device;
     (2) the weight of the evidence against the person;
     (3) the history and characteristics of the person, including--
           (A) the person’s character, physical and mental condition, family ties,
           employment, financial resources, length of residence in the
           community, community ties, past conduct, history relating to drug or
           alcohol abuse, criminal history, and record concerning appearance at
           court proceedings; and
           (B) whether, at the time of the current offense or arrest, the person
           was on probation, on parole, or on other release pending trial,
           sentencing, appeal, or completion of sentence for an offense under
           Federal, State, or local law; and
           (4) the nature and seriousness of the danger to any person or the
           community that would be posed by the person’s release.

     In regard to the release of the Defendant, the undersigned has considered the

nature and circumstance of the offense charged which are the distribution of a

controlled substance, that being methamphetamine. The weight of the evidence

against the Defendant is at the level of probable cause. It appears that Defendant

is in questionable physical condition. It has been represented to the Court that he
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 has diabetes and takes Metformin and insulin. On the other hand, Defendant denied

 to the Swain County Sheriff’s Department that he was taking medications, was

 under a doctor’s care, had diabetes, or that he had any medical condition that the

 detention facility should have been made aware of. Without further documentation

 or proof, the undersigned does not find that Defendant has any physical or mental

 condition. Defendant has family ties but does not have employment. Defendant

 has a history of using controlled substances, those being benzodiazepines,

 cannabinoids and methamphetamine. Defendant’s criminal history consists of the

 following:

Date       County                 Offense                                    Conviction

9/7/97     Jackson No operators license                                      10/27/97
3/23/01    Swain   Reckless driving                                          8/2/01
4/22/04    Jackson Possession of a stolen firearm                            8/6/04
5/3/05     Jackson Felony possession of a stolen motor vehicle               4/5/06
7/12/10    Graham Felony possession of methamphetamine                       8/24/11
6/18/12    Jackson Misdemeanor possession of stolen property                 7/9/13
4/11/13    Haywood Larceny                                                   7/10/13
10/10/13   Jackson Felony breaking & entering, felony larceny                1/16/15

       The criminal record of Defendant shows that Defendant has failed to appear on

September 11, 2009 in regard to a charge of failure to wear a seatbelt; on January

20, 2015 in regard of the charge of failure to reduce speed; and on August 24, 2015

upon charges of allowing an unlicensed driver to operate a vehicle and failure to

wear a seatbelt. It does not appear that Defendant was on probation, parole or other

release pending trial, sentencing, appeal or completion of sentence.
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       In regard to the nature and seriousness of the danger to any person or the

community that would be posed by the person’s release, the undersigned finds by

clear and convincing evidence that the release of Defendant would create a risk of

harm or danger to any other person or the community. It appears from the

Defendant’s Pretrial Services Report that Defendant has been recently using

methamphetamine.        The Defendant’s criminal record has a previous felony

conviction for possession of methamphetamine. Methamphetamine is a dangerous

drug and it creates a risk of harm or danger to the community and, indeed, creates a

risk of harm or danger to the Defendant himself. The undersigned finds that the

presumption of detention has not been rebutted as to this issue.

       The undersigned further finds that the presumption of detention, based on risk

of flight, has not been rebutted by the Defendant. Based upon the previous felony

conviction of the Defendant for possession of methamphetamine, the Defendant

could receive an active sentence of confinement in prison of not less than ten years.

The Defendant has failed to appear on several occasions on charges much less

serious than those that are presently pending against him. The undersigned thus

finds by a preponderance of the evidence that the release of the Defendant would

create a risk of flight on his part.




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                                      ORDER

      IT IS, THEREFORE, ORDERED that the Motion For Review of Detention

(#163) will be DENIED and it is further ORDERED that Defendant be detained

pending further proceedings in this matter.


                                       Signed: November 2, 2015




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